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|N THE MATTER OF §
ALFARO OlL lIllF;`»AS, LLC; § l:l ! mm!&J mbm m l:i U:H:J&
PlNNACLE PARTNERS F|NANC|AL §
CORPORAT|ON; AND §
BR|AN KE|TH ALFARO §

 

TO: Alfaro Oi| miti§as, LLC
21022 Gathering Oak, Suite 2101
San Antonio, Texas 78260

Pinnacle Partners Financial Corporation (CRD No. 145523)
21022 Gathering Oak, Suite 2103
San Antonio, Texas 78260

Brian Keith A|faro (CRD No. 4049120)
21022 Gathering Oak, Suite 2103
San Antonio, Texas 78260

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WHEREAS, Alfaro Oi| UEGas, LLC ("Respondent AOG") by and through its
Manager, Brian Keith Alfaro; Pinnacle Partners Financial Corporation ("Respondent
Pinnacle") by and through its president Brian Keith A|faro; and Brian Keith Alfaro,
individually ("Respondent A|faro")1 were the subjects of an investigation by the staff of
the Texas State Securities Board (the "Staff"); and

WHEREAS, on September 24, 2010 the Deputy Securities Commissioner

entered Emergency Cease and Desist Order No. 1C10-CDO-20 (the "Emergency
Order"); and

WHEREAS, Respondents filed a request for a hearing to modify or set aside the
Emergency Order (the “Hearing Request"); and

WHEREAS, the Respondents have cooperated with the Staff by responding to
inquires and providing requested materia|s; and

 

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WHEREAS, Respondents desire to settle and resolve the pending administrative
proceedings without Respondents admitting or denying the Findings of Fact five (5)
through fifteen (15) and the Conc|usions of Law contained herein.

F|ND|NGS OF FACT

Respondents have waived (a) Respondents‘ right to notice and hearing in this
matter; (b) Respondents‘ right to appear and present evidence in this matter; (c)
Respondents‘ right to appeal this Order; and (d) all other procedural rights granted to
the Respondents by The Securities Act, TEX. REV. C|V. STAT. ANN. art. 581-1 et
seq. (Vernon 1964 mcSupp. 2010)("Texas Securities Act"), and the Administrative
Procedure Act, TEX. GOV'T CODE ANN. § 2001.001 et seq. (Vernon 2008 l:i£Supp.
2010)("Administrative Procedure Act").

Alfaro Oi| nm'$as, LLC ("Respondent AOG") maintains a last known address at 21022
Gathering Oak, Suite 2101, San Antoniol Texas 78260.

Pinnacle Partners Financial Corporation ("Respondent Pinnac|e") maintains a last
known address at 21022 Gathering Oak, Suite 2103, San Antonio, Texas 78260.
On or about July 13, 2007, Respondent Pinnacle registered with the Securities
Commissioner as a dealer. This registration was withdrawn on March 3, 2011 by
Respondent Pinnacle.

Brian Keith Alfaro ("Respondent Alfaro") maintains a last known business address at
21022 Gathering Oak, Suite 2103, San Antonio, Texas 78260. On or about July 13,
2007l Respondent Alfaro registered with the Securities Commissioner as an agent of
Respondent Pinnac|e. This registration was withdrawn on March 3, 2011 by
Respondent Alfaro. Respondent Alfaro is the Manager of Respondent AOG and is
the President of Respondent Pinnacle.

Respondent AOG is the Managing Venturer for oil and gas drilling programs Some
of the programs include: Normanna North Prospect; SW Redfish Reef 3-D Prospect;
Pangaea 3-D Prospect; East Wharton 3-D Prospect; Dena|i 3-D Prospect; and
Victoria Secret 3-D Prospect ("Victoria Secret").

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The cost of one interest in the Victoria Secret program was $88,888. Pursuant to
the offering terms, for each full interest: $29,188 was due upon execution of the
subscription agreement $48,500 was due “upon drilling and testing"; and $11,200
for completion costs The Managing Venturer, Respondent AOG, could call for the
drilling and testing costs and completion costs.

During the period from in or about November 2008 through in or about June 2009,
the operator in the Victoria Secret program informed Respondent AOG and
Respondent Alfaro that the operator did not plan on drilling the well related to the
Victoria Secret program, anytime in the near future.

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Nonetheless, from in or about March 2009 through in or about June 2009,
Respondent AOG called for additional funds from investors in the Victoria Secret
program Respondents represented that these additional funds were to be used for
drilling and testing expensesl As of September 15, 2010l the well related to the
Victoria Secret program had not been drilled.

After the investors submitted their funds purported to be for drilling and testing
expenses, the funds were deposited into Victoria Secret's escrow account
Thereafter. Respondent AOG and Respondent Alfaro utilized the funds for personal
and business expenses unrelated to drilling and testing in connection with the

Victoria Secret program_

As a result of the use of funds by Respondent AOG and Respondent Alfaro, the
funds available for drilling and testing expenses in connection with the Victoria
Secret program were insufficient To that end, Respondent Alfaro admitted that
funds from investors in other programs unrelated to Victoria Secret might be used to
satisfy any potential drilling and testing costs associated with Victoria Secret.

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The French Town 2-H Barnett Sha|e Prospect (“French Town"), is an oil and gas
drilling program formed “to engage primarily in the business of drilling, owning, and
operating one hydrocarbon we||...and, if successfu|, the production of
hydrocarbons". Respondent AOG is also the Managing Venturer of French Town.

Respondents offered investments in the French Town program to investors in Texas.
Potentia| investors in the French Town program were told that they would receive a
percentage of working and net revenue interests in the prospect we||.

in connection with the offer for sale of investments in the French Town program,
Respondents provided an offering memorandum dated July 23, 2010 (the "Offering
Memorandum") to potential investors

The Offering Memorandum stated that Respondent AOG would act as the Managing
Venturer According|y, management of the operations and other business of French
Town were delegated to Respondent AOG.

|n connection with the offer for sale of the investments in the French Town program,
Respondents intentionally failed to disclose one or more of the following material
facts:

a. During a period when Respondent AOG and Respondent Alfaro knew that
drilling in connection with the Victoria Secret program was not imminent,
Respondent AOG required investors in the Victoria Secret program to provide
additional funds for drilling and testing expenses;

b. After collecting funds purported to be for drilling and testing in connection with
the Victoria Secret program, Respondent AOG and Respondent Alfaro
diverted the funds to uses unrelated to the Victoria Secret program;

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c. Funds raised in connection with the sale of investments in the French Town
program could be used to fund drilling and testing expenses for the Victoria
Secret program if that program did not have funds sufficient for drilling and
testing expenses

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The Emergency Order remained in full force and effect against Respondents from
the date of its entry to the date of this Order.

By executing this order, and upon its entry by the Securities Commissioner,
Respondents agree that all claims in this matter are withdrawn and removed from
controversy, the Hearing Request is withdrawn and may not be appealed, and the
Honorable Administrative Law Judge may dismiss this matter from its docket
pursuant to Section 155.503(0)(1) of the SOAH Ru|es of Procedure.

CONCLUS|ONS OF LAW

The investments in the French Town program are “securities” as that term is defined
by Section 4.A of the Texas Securities Act.

Respondents engaged in fraud in connection with the offer for sale of securities
Pursuant to Section 23.A of the Texas Securities Act, the foregoing findings and
conclusions of law constitute bases for the issuance of an order requiring
Respondents to cease and desist from engaging in fraud in connection with the offer
for sale of securities

ORDER

 

lt is therefore ORDERED that Respondents immediately CEASE AND DES|ST from
engaging in any fraud in connection with the offer for sale of any security in Texas

lt is further ORDERED that the Emergency Order is superseded by this Order.

SlgNED AND ENTERED by the Securities Commissioner this QSGday of
___C____

,2011.

 

 

 

 

 

 

 

 

Securities Commissioner

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Approved as to Form:

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Ronai< v. PZte'i v ‘
Director
inspections and Comp|iance Division

   

Respondents:

Alfaro Oil & Gas, LLC

By: Brian Keith A§ro, Managing

Member

Pinnacle Partners Financial Corporation

 

Brian §eith Alfaro, l%ividually

 
 

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ngley, Esq.
Attorney for Respondents

 

Consent Cease 81 Desist Order/Alfaro Oil & Gas. LLC. et. al./Page 5

ACKNOWLEDGMENT

on theQQ day of LZLMAA , 2011, Alfaro oil s Gas, LLc

("Respondent AOG"), by and through its Manager, Brian Keith Alfaro, appeared before
me, executed the foregoing Order. and acknowledged that:

  

 

 

1. Brian Keith Alfaro is duly authorized to enter into the foregoing Order on behalf of
Respondent AOG;

2. Brian Keith Alfaro has read the foregoing Order;

3. Respondent AOG has been fully advised of its rights under the Texas Securities
Act and the Administrative Procedure Act;

4. Respondent AOG knowingly and voluntarily consents to the entry of the
foregoing Order and the Findings of Fact and Conclusions of Law contained
therein; and

5. Respondent AOG, by consenting to the entry of the foregoing Order. has
knowingly and voluntarily waived its rights as set forth therein.

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The State of Texas
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Consent Cease & Desist Order/Alfaro Oil & Gas, LLC, et. al./Page 6

ACKNQWLEDGMENT

On the 29 day of MM . 2011, Pinnacie Partners
Financial Corporation ("Respondent Pinnacle”). by and through its President. Brian
Keith Alfaro, appeared before me. executed the foregoing Order. and acknowledged
that

1. Brian Keith Alfaro is duly authorized to enter into the foregoing Order on behalf of
Respondent Pinnacle;

2. Brian Keith Alfaro has read the foregoing Order;

3. Respondent Pinnacle has been fully advised of its rights under the Texas
Securities Act and the Administrative Procedure Act;

4. Respondent Pinnacle knowingly and voluntarily consents to the entry of the
foregoing Order and the Findings of Fact and Conclusions of Law contained
therein; and

5. Respondent Pinnac|e, by consenting to the entry of the foregoing Order. has
knowingly and voluntarily waived its rights as set forth therein

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Notary Public in and for
The State of Texas

My commission expires ont &//Z <QO/ 2/

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Consent Cease & Desist Order/Alfaro Oil & Gas. LLCl et al fPage 7

ACKNOWLEDGMENT

Onthe£ day of MML/ . 2011, Brian Keith Alfaro

("Respondent Alfaro") personally appeared before me, executed the foregoing Orderl
and acknowledged that:

1. RespondentAlfaro has read the foregoing Order;

2. Respondent Alfaro has been fully advised of his rights under the Texas
Securities Act and the Administrative Procedure Act;

3. Respondent Alfaro knowingly and voluntarily consents to the entry of the
foregoing Crcler and the Findings of Fact and Conclusions of Law contained
therein;and

4. Respondent Alfaro, by consenting to the entry of the foregoing Order, has
knowingly and voluntarily waived his rights as set forth therein.

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My commission

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